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                                  UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF OHIO
                                       WESTERN DIVISION

    PHILIP R. MCHUGH,                                           :
                                                                : Case No. 1:21-cv-00238
                                     Plaintiff,                 :
                                                                : Judge Michael R. Barrett
    v.                                                          :
                                                                :
    FIFTH THIRD BANCORP, ET AL.                                 : MOTION TO COMPEL PRODUCTION
                                                                : OF DOCUMENTS SUBPOENAED
                                     Defendants.                : FROM RHR INTERNATIONAL, LTD


         Plaintiff Philip McHugh respectfully moves this Court for an Order pursuant to Fed. R.

Civ. P. 26, 34 and 45 compelling non-party, RHR International, Ltd. (“RHR”), to electronically

produce the documents requested in two subpoenas served upon RHR. RHR has provided

executive officer assessment services to Fifth Third, including but not limited to assessment of the

individual to succeed Greg Carmichael as President and CEO. RHR has refused to produce any

responsive documents, instead resorting to a myriad of blanket, meritless objections.

         Plaintiff has exhausted extrajudicial efforts, and now moves this Court for an order

compelling RHR to produce the documents requested. A Memorandum in Support is attached, and

an Affidavit of Counsel with supporting exhibits is being submitted to chambers for an in-camera

review.1


                                                                 Respectfully Submitted,

                                                                 /s/ Peter A. Saba_____
                                                                 Peter A. Saba, Esq. (0055535)
                                                                 Joshua M. Smith, Esq. (0092360)
                                                                 STAGNARO, SABA

1
 Contemporaneous with the filing of this motion, Plaintiff is submitting an Affidavit of Counsel with supporting
Exhibits 1-16 to the Court for in-camera review. Plaintiff is not filing such exhibits due to confidentiality designations
provided by Defendants in such exhibits, and pursuant to Paragraph 8 of the parties’ stipulated protective order. (See
Doc. # 16, PAGEID #1876).

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                              MEMORANDUM IN SUPPORT

   I.      FACTUAL BACKGROUND

   A. Fifth Third utilizes RHR as an executive consultant in vetting executives for the
      position of President and CEO.

        Following a December 17, 2019 Fifth Third Board of Directors meeting in which CEO

succession planning was discussed, Defendants Greg Carmichael and Fifth Third Bank retained

RHR to perform executive level assessments on Tim Spence, Phil McHugh, and Tayfun Tuzun for

the position of President and CEO. (See Exhibit 1 - Shaffer Dep. 237:22-25 (“RHR is an

independent firm that provides executive level assessments of potential candidates for positions

like president, CEO, they may have a search arm as well to them, but I can’t guarantee that.”);

Exhibit 2 - Carmichael Dep. 294:19-295:1 (“There was an ask at some point after the December

meeting that we engage RHR at the board’s request, communicate the meeting through Marsha

[Williams].”); Exhibit 3 – Carmichael Dep. 300:10-21 (“Q. it was your recommendation that

Tayfun Tuzun and Phil McHugh would also be vetted by RHR as a comparison to Spence, correct?

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A. It was my – it was my thought process. My thought process that that might be helpful.”); See

also Exhibit 4 (Shaffer March 6, 2020 e-mail to Guy Beaudin, lead RHR consultant). The

relationship with RHR was not new—Fifth Third had also utilized RHR to vet Greg Carmichael

in 2014-2015. (Exhibit 5 – Carmichael Dep. 387:13-23).

          While the initial proposal from RHR was to assess all three candidates (Spence, McHugh,

Tuzun) against the Bank’s CEO Profile, in June 2020 Carmichael and his Chief HR Officer, Robert

Shaffer, limited the assessment to just Spence. (Exhibit 6 - Carmichael Dep. Exhibit 46).

Carmichael was also adamant that the Board had already determined that they would not consider

the two older employees as legitimate successors, and accordingly the Board, along with

Carmichael, did not want them assessed in comparison to Spence. (Id.)

          Thereafter, RHR lead consultant Guy Beaudin and his assistant Chuck Evans conducted

the assessment of Spence according to a revised proposal submitted to Fifth Third, including:

   (i)       Working with Carmichael and Shaffer to update the Bank’s “CEO Profile;”

   (ii)      Conduct leadership/personality surveys of Tim Spence;

   (iii)     Conduct a “three-hour in-person, structured, behavioral interview” with Tim
             Spence;

   (iv)      Conduct interviews with “stakeholders” (manager, peers, and direct reports);

   (v)       Provide a “full developmental assessment report with feedback organized
             around the leadership profile,” and

   (vi)      Conduct a “debrief” of assessments with Carmichael, Shaffer, and the Board of
             Directors.

(Id. at Exhibit 7).

          On September 21, 2020, RHR provided a “summary” to the Board of Directors regarding

its assessment of Tim Spence. (Id. at Exhibit 8). A month later, the Board signed a resolution to

promote Spence to President. (Id.at Exhibit 9)

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   II.      PROCEDURAL HISTORY AND EXTRAJUDICIAL EFFORTS

         On April 1, 2022, Plaintiff served a subpoena on RHR for the production of documents

related to its executive assessment planning work. The categories of documents are provided in

Exhibit A to the subpoena (Id. at Exhibit 10), but primarily seek documents and communications

related to executive assessments performed on Spence, McHugh, and any other candidates for the

position of President or CEO of Fifth Third between January 1, 2016 to the present.

         On April 14, 2022, RHR’s counsel sent a brief letter claiming the subpoena was improper

because it was outside the 100-mile geographic limit under Rule 45(c)(2), and making additional

blanket objections that the documents are “necessarily in the possession of named parties,” “calls

for the production of information and documents that are privileged,” “irrelevant to the named

parties’ claims and defenses,” and “disproportionate to the needs of the case.” (Id. at Exhibit 11).

The letter closed asking Plaintiff to confirm he would withdraw the subpoena. (Id.).

         Plaintiff’s counsel responded on April 25, 2022, confirming that the requested documents

could be produced via mail or e-mail as indicated in the subpoena, rendering the 100-mile

limitation inapplicable. (Id. at Exhibit 12); See also United States v. Brown, 223 F. Supp.3d 693,

703 (N.D. Ohio 2016)(Finding the 100-mile limit “does not apply where documents can be mailed

and do not require personal appearance.”); Walker v. Cener for Food Safety, 667 F. Supp.2d 133,

138, (D.D.C. 2009)(“[T]he 100 mile limit applies to travel by a subpoenaed person, but a person

commanded to produce documents need not appear at the place of production or inspection.”).

         Moreover, Plaintiff disputed (and still disputes) that the requested documents are in the

possession of Plaintiff or Defendants, or that this is a valid objection. See Kasper v. AAC Holdings,

2017 U.S. Dist. LEXIS 231826 at *23-24 (M.D. Tenn. 2017)(“Neither is the Court convinced that

Avondale may avoid the request simply because Plaintiffs have sought the same documents from



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Defendants. Although there is a risk of some duplicate production, it is entirely possible that

relevant and responsive documents exist that Defendant do not now, or perhaps did not ever, have

in their possession.”).

           Finally, Plaintiff responded that he was not aware of any applicable privilege to the

documents, and that the documents are relevant and discoverable, given that Defendants claim to

have made their decision to promote Spence over Plaintiff based in part upon assessments

performed by RHR. Plaintiff closed by re-iterating his request for compliance with the subpoena.

           Following initial director and bank employee depositions, on April 21, 2023 Plaintiff

served a supplemental subpoena on RHR, with a courtesy copy to RHR’s counsel. (Id. at Exhibit

13). This subpoena sought additional documents specific to RHR’s executive assessment work

relating to Fifth Third, including:

    (i)       Survey questions provided to Spence, along with answers to the same;

    (ii)      Draft and final assessments of Greg Carmichael, and correspondence related to
              the same;

    (iii)     Draft and final versions of the CEO Profile created for the assessment work
              performed by RHR on Carmichael and Spence, and correspondence relating to
              the same;

    (iv)      Documents relating to materials RHR presented to the Bank’s Board of
              Directors in September 2020;

    (v)       Draft and final proposals/invoices submitted to Fifth Third relating to the
              executive assessment and development work performed by RHR; and

    (vi)      All completed surveys and assessments with respect to Spence or Carmichael.

(Id.).

           On May 3, 2023, RHR’s counsel responded, reiterating its blanket objections as to the 100-

mile limit, privacy/confidentiality, relevance, and that the documents are in the parties’ possession.

(Id. at Exhibit 14). As to privilege, RHR now asserted that the documents are subject to the

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therapist-patient privilege, citing to Jaffee v. Redmond, 518 U.S. 1 (1996)( (“…that confidential

communications between a licensed psychotherapist and her patients in the course of diagnosis

or treatment are protected from compelled disclosure[.]”). Yet again, RHR produced no

documents.

          On January 30, 2024, in a final effort to extrajudicially resolve the issue, Plaintiff sent

further correspondence to RHR’s counsel, again pointing out that RHR’s objections were baseless

and informing him that due to the complete lack of production, Plaintiff would be seeking court

enforcement. (Id. at Exhibit 15). No response was received.

   III.      LAW AND ARGUMENT

   A. Legal Standard

          Fed. R. Civ. P. 34(c) and 45 permit subpoenas to non-parties for the production of

documents relevant to the litigation. See Fed. R. Civ. P. 34(c) (“As provided in Rule 45, a nonparty

may be compelled to produce documents and tangible things or to permit an inspection.”). “[T]he

scope of discovery under a [Rule 45] subpoena is the same as the scope of discovery under Rule

26.” Hendricks v. Total Quality Logistics, LLC, 275 F.R.D. 251, 253 (S.D. Ohio 2011); See also

Fed. R. Civ. P. 45 advisory committee notes to 1991 amendment (“The non-party witness is subject

to the same scope of discovery under this rule as that person would be as a party to whom a request

is addressed pursuant to Rule 34.”).

          Fed. R. Civ. P. 26(b) provides that a party may obtain discovery “regarding any

nonprivileged matter that is relevant to any party’s claim or defense and proportional to the needs

of the case.” Fed. R. Civ. P. 26(b)(1). “[T]he scope of discovery under the Federal Rules of Civil

Procedure is traditionally quite broad.” Lewis v. ACB Bus. Servs., Inc., 135 F.3d 389, 402 (6th Cir.




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1998); See also Fed. R. Civ. P. 26(b)(1) (“Information within this scope of discovery need not be

admissible in evidence to be discoverable.”).

   B. The subpoenaed documents are relevant and discoverable.

       Here, the documents subpoenaed from RHR regarding their assessment work with Fifth

Third are clearly relevant to the litigation. Indeed, RHR was intimately involved in assessing

Spence (40) for the position of President and CEO of Fifth Third and, until Carmichael and Shaffer

intervened, was intending to assess Plaintiff (55) and Tuzun (55) for the same role. This assessment

work occurred months after the December 2019 Board meeting in which CEO succession planning

was discussed. Additionally, weeks after the assessment work was completed, Spence was

promoted to President. Defendants have confirmed that they relied at least in part on RHR’s

assessment in promoting Spence. (See Smith Aff., Exhibit 16, Response to Interrogatory No. 5

(Identifying RHR assessment report as one of the “criteria which Fifth Third considered in

selecting Timothy N. Spence for the position of President of Fifth Third Bancorp in 2020.”)).

       As this Court is well aware, Plaintiff’s claims against Defendants are for age

discrimination, including for failing to promote Plaintiff in favor of a substantially younger

employee, Tim Spence. The assessment performed on Spence during this time period, and all

correspondence, notes, and other documentation related to it, are obviously relevant and

discoverable. (See White v. Columbus Metro. Hous. Auth., 429 F.3d 232, 242 (6th Cir.

2005)(emphasizing that in age discrimination cases “it is incumbent upon the plaintiff to establish

that [he] and the non-protected person who ultimately was hired for the desired position had similar

qualifications.”); Provenzano v. LCI Holdings, Inc., 663 F.3d 806, 814 (6th Cir. 2011)(holding that

in failure to promote cases, the emphasis is on the relative qualifications of the plaintiff and the

employee who actually received the promotion); LeVine v. Dejoy, 64 F.4th 789, 799 (6th Cir.



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2023)(“[C]omparative qualifications may be probative of whether the employer’s reasons are

pretexts for discrimination.”)(citations omitted).

   C. RHR’s blanket objections have no merit.

       As discussed above (See Section II), RHR raises a number of blanket objections in their

efforts to obstruct discovery and defy compliance with the subpoena. None of those have any merit,

and each are addressed below.

       1. The 100-mile geographic limit is inapplicable to documents requested by mail or e-
          mail.

       First, RHR’s objection relating to the 100-mile geographic limitation is baseless because

the documents have been requested by mail or e-mail. (See Smith Aff., Exhibits 10, 13) This fact

alone renders the geographic limits inapplicable. See, e.g., Pidcock v. Goddard (In re SII

Liquidation Co.) Nos. 10-60702, 14-6016, 2015 Bankr. LEXIS 901, at *9 (Bankr. N.D. Ohio Mar.

20, 2015) (“[C]ourts generally find that the ability to mail the documents, without requiring a

personal appearance, eliminates the geographic obstacle.”). In Pidcock, the court reasoned that the

“compliance contemplated by [Rule 45(c)(2)] [is] the accumulation and dissemination, via mail or

electronic transmission, of the requested discovery” and that such compliance would “likely occur

from [the producing party’s] office…or nearby post office,” meaning that the producing party “will

not be required to venture more than 100 miles to fulfill the request.” Id.

       Moreover, even if RHR’s procedural objection had any merit, which it does not, the

appropriate remedy would be for the Court to simply modify the procedural requirements of the

subpoena. Indeed, Fed. R. Civ. P. 45(d)(3)(A)(ii) provides the courts with the ability to modify a

subpoena – as an alternative to simply quashing – to allow service of the responsive documents

via e-mail in an attempt to promote efficiency and further the practicality of electronic document

production. See Dyno Nobel, Inc. v. Johnson, 586 F.Supp. 657, 661-62 (E.D. Ky. 2022)(modifying

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subpoena to permit service via e-mail to promote efficiency and further the practicality of

electronic document production); See also CresCom Bank v. Terry, 269 F. Supp. 3d 708, 713-14

(D.S.C. 2017) (even if the 100-mile rule applies to document subpoenas, the proper remedy is not

to quash the subpoena but to modify the subpoena to allow the recipient "to produce the records

either electronically or at a physical location closer to" the recipient); Sams v. GA W. Gate, LLC,

316 F.R.D. 693, 696-97 (N.D. Ga. 2016) (although party violated the 100-mile rule when issuing

document subpoenas, "this violation does not require that the subpoena be quashed; the court may

modify the subpoena ... to allow service of responsive documents by email").

       Here, both the original subpoena and supplemental subpoena provided that the requested

documents could be provided to Plaintiff via electronic production. RHR had – and still has – the

ability to comply with the subpoenas simply by sending copies of the requested documents either

by mail or e-mail, neither of which would require RHR, or any of its attorneys or agents, to travel

beyond the 100-mile limit. Thus, RHR’s objections as to the geographic limitations under Rule 45

should be rejected.

       2. The subpoenaed documents are not subject to the therapist-patient privilege.

       Next, RHR asserts that the therapist-patient privilege adopted by the U.S. Supreme Court

in Jaffee v. Redmond applies to RHR’s assessment work on Tim Spence. This objection fails

because RHR’s assessment work does not fall within the privilege espoused in Jaffee.

       Jaffee concerned the admissibility of notes taken by a therapist during extensive

confidential counseling sessions with her client, a police officer, who sought such counseling after

her involvement in a fatal shooting. 518 U.S. 1, 3 (1996). The counseling sessions were

confidential, and between the police officer and her counselor only (i.e., not requested by her

employer). Id. at 5. In denying the discovery of the counselor’s notes, the Court held that



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“confidential communications between a licensed psychotherapist and her patients in the course

of diagnosis or treatment are protected from compelled disclosure[.]”) Id. at 15 (emphasis added).

       Here, neither RHR nor its employees provided any psychological treatment to any Fifth

Third employees, and Spence was not a patient of RHR nor Mr. Beaudin. For that simple reason,

the objection based upon Jaffee is inapplicable.

       Notwithstanding that the RHR employment assessments do not constitute psychological

diagnosis and treatment of Tim Spence, the objection also fails because the assessment was not

confidential. See Phelps v.      Coy, 194 F.R.D.        606 (S.D.   Ohio    2000)(holding     that

psychiatrist/patient privilege did not protect information learned by a psychologist where

she evaluated the officer at the behest of his municipal employer and disclosed the information to

the employer); Kamper v. Gray, 182 F.R.D. 597, 599 (E.D. Mo. 1998)(“Since [plaintiff] was aware

that his evaluations would be reported to his employer, Gray had no reasonable expectation of

confidentiality regarding his communications with Colarelli, Meyer, and Associates.”).

       The therapist-patient privilege does not apply to RHR’s assessment work on Tim Spence

or any other executive at Fifth Third. These are documents created by an employer’s third-party

consultant at the employer’s direction, for purposes of assessing an employee for promotion. They

are not related to psychological diagnosis or treatment, nor were they confidential between Tim

Spence and RHR.

       3. The subpoenaed documents are not subject to the work-product privilege.

       RHR also claims that the requested documents fall under the work product privilege. (See

Exhibit 11, at p. 2 (“[t]o the extent the documents sought include drafts and other internal

documents not provided to Fifth Third Bank or any other person, these documents contain internal

work product and the mental impressions of RHR’s consultants.”). This objection fails for the



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simple reason that the work product privilege under Rule 26 is limited to parties to the litigation.

See Arkwright Mut. Ins. Co. v. Natl. Union Fire Ins. Co., 6th Cir. No. 93-3084, 1994 U.S. App.

LEXIS 3828, at *12-13 (Feb. 25, 1994), quoting C. Wright & A. Miller, Federal Practice and

Procedures § 2024, at 201-02 (holding that the protection of Rule 26(b)(3) is limited to one who

is a party to the litigation in which discovery is sought and that “[d]ocuments prepared for one

who is not a party to the present suit are wholly unprotected.”); See also In re California Pub. Util.

Com., 892 F.2d 778, 781 (9th Cir.1989) (“Although some courts have extended the work product

privilege outside the literal bounds of the rule, we conclude that the rule, on its face, limits its

protection to one who is a party (or a party’s representative) to the litigation in which discovery is

sought.”). Simply put, the objection is baseless.

        4. The subpoenaed documents do not seek any confidential or proprietary information.

        RHR objects to the subpoenas on the basis of privacy and confidentiality concerns.

However, RHR provides no particularized facts or law to support this objection, and even if they

had, the simple solution is to designate the documents confidential under the Court’s Stipulated

Protective Order.

        When a party raises an objection based on confidentiality, the court will apply a three-part

test:

        (1) whether the objecting party has shown that the information sought is proprietary
            and that its disclosure might be harmful;
        (2) whether the party seeking discovery has established that the information is
            relevant and necessary to the underlying action; and
        (3) whether the need for discovery outweighs the harm that will result from
            disclosure.

Worldwide Distribution, LLLP v. Everlotus Indus. Corp., No. 1:16 MC 67, 2017, U.S. Dist. LEXIS

19160, at *4-5 (N.D. Ohio Feb. 9, 2017), citing Med. Ctr. at Elizabeth Place, LLC v. Premier

Health Partners, 294 F.R.D. 87, 92 (S.D. Ohio 2013); See also id. at *5 (“When discovery is


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sought from a non-party, a court should be particularly sensitive to weighing the probative value

of the information sought against the burden of production on the non-party.”)(citations omitted).

       Here, RHR’s only reasoning for raising a confidentiality objection is that “the documents

sought contain the personal information of individuals who are not parties to this case and who

have not consented to disclosure.” RHR has not provided any additional explanation as to which

of the requested documents may be implicated under this objection, nor any explanation as to why

its compliance with the subpoenas would be harmful in any way. This is simply not enough to

prevent disclosure of such documents, particularly given their relevance as described above, and

the Stipulated Protective Order under which they could be produced.

       5. The subpoenaed documents are not already in the parties’ possession.

       Finally, RHR has twice claimed that all of the requested documents are already in the

possession of the parties to this lawsuit. See Smith Aff., Exhibit 11 (“[T]he requests for

production…are for documents necessarily in the possession of the named parties to the case.”);

Exhibit 14 (“[A]ny documents prepared by RHR that were provided to Fifth Third

Bank…obviously would be in the possession of Fifth Third Bank.”). However, Plaintiff is not in

possession of the subpoenaed documents, and has made multiple requests for them from Fifth

Third to no avail.

       Moreover, many of the requested documents would be exclusively in the possession of

RHR, including draft assessments, survey reports, notes from interviews, and similar documents

internal to RHR. Indeed, RHR’s work product objection makes clear that some documents are

exclusively in RHR’s possession.

       Last, regardless of whether Fifth Third may have some of the requested documents in its

possession, pointing to the opposing party in a lawsuit as potentially having such documents is not

a basis to ignore a validly issued subpoena in its entirety, particularly where the documents are
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more readily obtainable by a non-party like RHR. In re New Eng. Compounding Pharm., Inc.,

2013 U.S. Dist. LEXIS 161652 (D. Mass. 2013)(“The mere availability of the documents from

another source, however, does not preclude a subpoena directed to a nonparty if the party serving

the subpoena can show that it is more expeditious to obtain the documents from a witness.”);

Carson v. Kanazawa, 2016 U.S. Dist. LEXIS 199440 (D. Haw. 2016)(“Although there is the

potential for duplicate production, discovery has revealed that there may be relevant documents in

Robert’s possession that are not in RNI or Plaintiffs’ possession and have not been produced from

those individuals or entities.”); Kasper v. AAC Holdings, 2017 U.S. Dist. LEXIS 231826 at *23-

24 (M.D. Tenn. 2017)(“Neither is the Court convinced that Avondale may avoid the request simply

because Plaintiffs have sought the same documents from Defendants. Although there is a risk of

some duplicate production, it is entirely possible that relevant and responsive documents exist that

Defendant do not now, or perhaps did not ever, have in their possession.” ); Wilemon Found., Inc.

v. Wilemon, 2021 U.S. Dist. LEXIS 80402 at *16 (N.D. Miss. 2021)(“‘While it is conceivable that

some of the documents responsive to this subpoena may be in the plaintiffs’ possession, custody,

or control, the majority of the documents requested exclusively involve communications or

documents between the defendant and Phelps [third party].”).

         RHR is in possession of the documents requested, and in many cases are in exclusive

possession. Their objection is baseless, particularly when used in such a blanket fashion.

   IV.      CONCLUSION

         Plaintiff is seeking to move discovery forward in this case, including by obtaining

documents he has requested from RHR over the last two years. RHR has refused to comply and

has ignored repeated extrajudicial efforts to resolve their objections. As such, Plaintiff respectfully

requests that this Court exercise its authority under Rule 45 to compel production.



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                                           Respectfully Submitted,

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                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing motion was served on all
counsel of record this 15th day of June, 2022 via the Court’s CM/ECF system and that, pursuant
to Fed. R. Civ. P. 45(d)(2)(B)(i), notice and a copy of the motion was provided to RHR
International, LTD., via ordinary and electronic mail.

                                                  /s/ Peter A. Saba
                                                  Peter A. Saba, Esq. (0055535)




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